     Case 4:14-cr-00005-WTM-GRS Document 293 Filed 03/18/15 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA

V.                                           CASE NO.          aSFØT COURT
                                                        Southern District of Ga.
CARL EVAN SWAIN,                                            Filed In Office

      Defendant.


                                 ORDER

      Before the Court is Defendant's Motion to Dismiss

Multiplicious Counts. (Doc. 280.) In this motion, Defendant

argues that counts one and two of the second superseding

indictment—conspiracy to commit murder for hire and conspiracy

to commit murder, respectively—are multiplicious and should be

charged as only one conspiracy. For the following reasons,

Defendant's motion is DENIED.

      An indictment contains multiplicious counts where a single

offense is charged in more than one count. United States v.

Sirang, 70 F.3d 588, 595 (11th Cir. 1995) (quoting United States

v. Howard, 918 F. 2d 1529, 1532 (11th Cir. 1990)). Generally, two

counts are not multiplicious where " each provision requires

proof of an additional fact which the other does not.' " United

States v. Anderson, 872 F.2d 1508, 1520 (11th Cir. 1989)

(quoting Ward v. United States, 694 F.2d 654, 661 (11th Cir.

1982)). Additionally, counts are not multiplicious where they
   Case 4:14-cr-00005-WTM-GRS Document 293 Filed 03/18/15 Page 2 of 3




are based on separate statutory provisions prohibiting specific

types of conspiracies rather than being grounded in only the

general conspiracy statute. Id.

     In this case, counts one and two of the second superseding

indictment each require the Government to prove slightly

different facts. Conspiracy to commit murder for hire requires

that the Government prove Defendant conspired (1) to use or

cause another to use any facility of interstate or foreign

commerce; (2) the intention that murder be committed; and (3)

the existence of a promise or agreement to pay anything of

pecuniary value as consideration for committing the murder.

Conspiracy to commit murder only requires the Government to

prove Defendant conspired to cause the death of the victim with

(1) malice aforethought and (2) premeditated intent. Comparing

these two counts, it is clear that conspiracy to commit murder

for hire requires proof of elements in addition to those

required for conspiracy to commit murder.

     Unsurprisingly, these two counts are charged under separate

conspiracy statutes. Conspiracy to commit murder for hire is

charged under a general conspiracy statute, 18 U.S.C. § 371,

which prohibits two or more individuals from conspiring to

commit any offense against the United States. Conspiracy to

commit murder, however, is charged under a specific conspiracy

statute, 18 U.S.C. § 1117, which expressly prohibits two or more


                                    2
   Case 4:14-cr-00005-WTM-GRS Document 293 Filed 03/18/15 Page 3 of 3




individuals from conspiring to commit murder. Given the separate

code sections underlying counts one and two of the second

superseding indictment, these counts are not multiplicious.

Accordingly, Defendant's motion must be denied

     SO ORDERED this   /8    day of March 2015.




                                 WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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